                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )          No. 3:15-00037
                                                 )          JUDGE CAMPBELL
BENJAMIN BRADLEY                                 )

                                             ORDER

        Pending before the Court is Defendant Bradley’s Motion For Issuance Of Subpoena

Duces Tecum (Docket No. 579). Through the Motion, the Defendant seeks the issuance of a

subpoena duces tecum to obtain the mental health records of Co-Defendant Pamela O’Neal from

Dr. Madhu Mendiratta M.D. The Defendant indicates that he anticipates Defendant O’Neal will

testify at his sentencing hearing regarding the contested issue of drug quantity. The Motion

further states:

           Based on the Defendant’s observations of Ms. O’Neal, his conversations with
        her, and conversations with acquaintances of Ms. O’Neal, the defendant has
        reason to believe that Ms. O’Neal suffers from mental illness to an extent that
        would cause a reasonable person to question her credibility. By information and
        belief, she has been treated by Dr. Madhu Mendiratta. Dr. Mendiratta will likely,
        therefore, possess information critical to the defendant.

(Docket No. 579, at 2).

        In her Response (Docket No. 626) to the Motion, Co-Defendant O’Neal states that Dr.

Mendiratta is her primary care physician and has no mental health records regarding Ms. O’Neal.

Defendant O’Neal further states that she is not currently under the care of any mental health

professional, and she does not suffer from any mental health disability.

        In its Response (Docket No. 634), the Government indicates that it will disclose to

Defendant Bradley any Giglio [Giglio v. United States, 405 U.S. 150, 92 S. Ct. 763, 31 L. Ed. 2d

104 (1972)] information in its possession, and that Defendant Bradley is not otherwise entitled to



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subpoena the mental health records of a witness at sentencing.

       In his Reply (Docket Nos. 637, 639), Defendant Bradley challenges the case law cited by

the Government, but does not otherwise contradict the statements made in Defendant O’Neal’s

response.

       Rule 17(c) of the Federal Rules of Criminal Procedure provides, in pertinent part, as

follows:

       (c) Producing Documents and Objects.

               (1) In General. A subpoena may order the witness to produce any
               books, papers, documents, data, or other objects the subpoena
               designates. The court may direct the witness to produce the
               designated items in court before trial or before they are to be
               offered in evidence. When the items arrive, the court may permit
               the parties and their attorneys to inspect all or part of them.

The four elements that a requesting party must meet in order to compel production under Rule

17(c) are: (1) the documents are evidentiary and relevant; (2) the documents are not otherwise

procurable by exercise of due diligence; (3) the party cannot properly prepare for trial without

such production; and (4) the application is made in good faith and is not intended as a general

“fishing expedition.” United States v. Nixon, 418 U.S. 683, 699, 94 S.Ct. 3090, 41 L.Ed.2d 1039

(1979). See also United States v. Vassar, 346 Fed. Appx. 17, 24 (6th Cir. 2009); United States v.

Hughes, 895 F.2d 1135, 1146 (6th Cir. 1990). A subpoena duces tecum is not intended to provide

a means of discovery in criminal cases. Nixon, 418 U.S. at 698.

       Co-Defendant O’Neal’s filing indicates that Dr. Mendiratta is her primary care physician

and that she has no mental health records regarding Defendant O’Neal. Defendant Bradley has

not challenged this statement and has not otherwise suggested, beyond mere conjecture, that

such records exist. Under these circumstances, the Court concludes that issuance of the requested

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subpoena to Dr. Mendiratta would amount to a fishing expedition, and would not otherwise

satisfy the requirements set forth above. Therefore, Defendant Bradley’s Motion For Issuance Of

A Subpoena Duces Tecum (Docket No. 579) is DENIED.

       Defendant Bradley is free to renew his request for records if additional information

comes to light indicating that such records exist, and the Government will be held to its

representation that Giglio material will be provided to Defendant Bradley as required by law.

Given the Court’s disposition, it is unnecessary to address the issue of whether Defendant

Bradley is otherwise entitled to view the mental health records of a witness expected to be called

at sentencing.

       It is so ORDERED.

                                                     ______________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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